      Case 1:19-cv-07777-GBD-OTW Document 217 Filed 09/24/20 Page 1 of 5




September 24, 2020

Hon. Ona T. Wang
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 20D
New York, NY 10007

Re:    State of New York, et al. v. U.S. Dep’t of Homeland Security, et al., No. 19-cv-7777
       (GBD); Make the Road New York, et al. v. Ken Cuccinelli, et al., No. 19-cv-7993 (GBD)
       (“MRNY”).

Dear Judge Wang:

       Plaintiffs in these related cases write to request a pre-motion conference in accordance
with the Court’s Individual Practices in Civil Cases to allow Plaintiffs to move to file an
amended complaint in accordance with Federal Rule of Civil Procedure 15(a)(2). See Ex. 1 (19-
cv-7777, Proposed Amended Complaint); Ex. 2 (19-cv-7777) (redline version of Proposed
Amended Complaint); Ex. 3 (19-cv-7993, Proposed Amended Complaint); Ex. 4 (19-cv-7993,
redlined version of Proposed Amended Complaint).

         Plaintiffs seek leave to amend the complaint to add claims that Defendant Kevin K.
McAleenan (“McAleenan”) was improperly serving in the role of Acting Secretary of Homeland
Security in violation of the Federal Vacancies Reform Act of 1998 (“FVRA”). Both the U.S.
Government Accountability Office (“GAO”) and at least one federal district court have already
held that McAleenan was not lawfully serving in that capacity at the time he purported
promulgated the challenged rule, Inadmissibility on Public Charge Grounds, 84 Fed. Reg. 41,292
(Aug. 14, 2019) (the “Rule”). Pursuant to the FVRA, 5 U.S.C. § 3348(d)(1) and the
Administrative Procedure Act, 5 U.S.C. § 706, the Rule is accordingly ultra vires and void ab
initio, and was promulgated “in excess of . . . authority” and not “in accordance with law,” 5
U.S.C. § 706(2)(C) and (a)(2), and must be vacated. Defendants have advised Plaintiffs that they
take no position on Plaintiffs’ request to amend.

        1. Constitutional and statutory framework. Article II of the Constitution requires that the
President obtain the “Advice and Consent” of the Senate for Cabinet officials. The FVRA
establishes a default framework for authorizing acting officials to fill Senate-confirmed roles,
with three options for who may serve as an acting official. 5 U.S.C. § 3345. Section 3347 of the
FVRA explains that this framework is the “exclusive means” for authorizing acting officials
unless a specific statute designates one or authorizes “the President, a court, or the head of an
Executive department” to designate one. Id. The Department of Homeland Security (“DHS”) has
such a statute—the Homeland Security Act (“HSA”)—which establishes an order of succession
for the Acting Secretary. 6 US.C. § 113(g). First in line under the HSA is the Deputy Secretary,
and then the Under Secretary for Management. Id. §§ 113(a)(1)(A), 113(g)(1). After these two
offices, the order of succession is set by the Secretary of Homeland Security. Id. § 113(g)(2).


                                                1
      Case 1:19-cv-07777-GBD-OTW Document 217 Filed 09/24/20 Page 2 of 5




       Under the FVRA, official actions taken by unlawfully serving acting officials “shall have
no force or effect” and “may not be ratified” after the fact by the official who lawfully should
have assumed the Acting Secretary role. 5 U.S.C. § 3348(d)(1), (2).

       2. Factual background. Plaintiffs filed their complaints in August 2019 challenging the
promulgation, implementation, and enforcement of the Rule, which was issued in August 2019
by then-Acting Secretary McAleenan. Following McAleenan’s resignation in November 2019,
members of Congress questioned the legality of the appointment of Chad Wolf, McAleenan’s
successor. These members wrote to the GAO to express their concerns that McAleenan had not
lawfully assumed the role of Acting Secretary following former Secretary Kirstjen Nielsen’s
resignation in April 2019, and that McAleenan therefore lacked the authority to issue the order of
succession that formed the basis for Wolf’s accession.

       In a report issued on August 14, 2020, GAO concluded that McAleenan unlawfully
assumed the role of Acting Secretary following Secretary Nielsen’s resignation. 1 The GAO
reasoned that, because DHS’s operative succession order at the time of Secretary Nielsen’s
resignation unambiguously provided that Executive Order 13753 governed the order of
succession, the Director of Cybersecurity and Infrastructure Security Agency (“CISA”), not the
Commissioner of U.S. Customs and Border Protection (the position McAleenan was filling
before he succeeded Nielsen), was to succeed the Secretary in the event she resigned. See also La
Clinica De La Raza v. Trump, No. 19-cv-4980, 2020 U.S. Dist. LEXIS 141725, *45 (N.D. Cal.
Aug. 7, 2020) (explaining that “at the time of Nielsen’s resignation, Executive Order 13753
governed the order of succession”). 2

        Just one week ago, a district court concurred with the GAO’s conclusions. The court
held that McAleenan’s appointment was likely “invalid under the agency’s applicable order of
succession,” and that accordingly McAleenan “assumed the role of Acting Secretary without
lawful authority.” Casa de Maryland v. Wolf, No. 8:20-CV-02118-PX, 2020 WL 5500165, at
*21 (D. Md. Sept. 11, 2020).

        Because McAleenan unlawfully assumed the position of Acting Secretary in violation of
the FVRA, under the plain terms of the FVRA, any action taken by McAleenan—including
promulgating the Rule—are invalid. 3 Accordingly, Plaintiffs seek leave to amend the complaint
to add a claim challenging the validity of the Rule on this basis.


1
  U.S. Gov’t Accountability Off., B-331650, Department of Homeland Security—Legality of Service of Acting
Secretary of Homeland Security and Service of Senior Official Performing the Duties of Deputy Secretary of
Homeland Security (Aug. 14, 2020), available at https://www.gao.gov/products/B-331650.
2
  The district court in La Clinica dismissed those plaintiffs’ FVRA claims on the grounds that they had failed to
plead that McAleenan’s appointment was impermissible under the President’s direct appointment powers under the
FVRA. However, the federal government has since made clear that they rely solely on the succession order, not the
FVRA, for the legality of McAleenan’s appointment, see La Clinica de la Raza v. Trump, Docket No. 4:19-cv-4980-
PJH, ECF No. 179 at 4-6, and accordingly, that ruling is now the subjection of a motion to reconsider, see id.
3
  Similarly, a federal district court recently held that Cuccinelli was unlawfully appointed to his position as Acting
Director of USCIS. See L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1, 25–29 (D.D.C. 2020). Thus, any argument by
Defendants that USCIS or Cuccinelli had authority to issue the Rule notwithstanding McAleenan’s unlawful
appointment would also fail.

                                                          2
     Case 1:19-cv-07777-GBD-OTW Document 217 Filed 09/24/20 Page 3 of 5




        3. The Court Should Grant Plaintiffs Leave to File an Amended Complaint. Pursuant to
Federal Rule of Civil Procedure 15(a)(2), leave to amend should be granted “freely . . . when
justice so requires.” “[I]f the plaintiff has at least colorable grounds for relief, justice does so
require unless the plaintiff is guilty of undue delay or bad faith or unless permission to amend
would unduly prejudice the opposing party.” Ryder Energy Distribution Corp. v. Merrill Lynch
Commodities, Inc., 748 F.2d 774, 783 (2d Cir. 1984) (citation and quotation marks omitted); see
also Foman v. Davis, 371 U.S. 178, 182 (1962). Plaintiffs should be granted leave to amend
because there are colorable grounds for relief, the Plaintiffs have not engaged in any undue delay
or bad faith, and there would be no prejudice to the defendants.

        First, the proposed amended complaint states colorable claims for relief and is not futile.
When evaluating whether to grant leave amend, courts consider whether the amendment could
withstand a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). See Dougherty v. Town of N.
Hempstead Bd. of Zoning Appeals, 282 F.3d 83, 88 (2d Cir. 2002). Unless the facts alleged
clearly show that plaintiffs have no plausible claim, courts ordinarily allow plaintiffs to amend.
See Foman, 371 U.S. at 182 (“If the underlying facts or circumstances relied upon by a plaintiff
may be a proper subject of relief, he ought to be afforded an opportunity to test his claim on the
merits.”). Here, the facts, accepted as true, establish that McAleenan’s accession to the role of
Acting Secretary in April 2019 was not in accordance with the FVRA. Because McAleenan was
unlawfully serving as the Acting Secretary, under the plain terms of the FVRA, his purported
official action in issuing the Rule was invalid. And because the Rule was promulgated by an
official who was unlawfully acting under the FVRA, the Rule is not in accordance with law and
in excess of authority under the APA, and thus must be set aside.

        Second, there can be no assertions of bad faith, undue delay, or undue prejudice to the
Defendants. No scheduling order has been set, discovery has not yet begun, and Defendants have
not even filed their answers to Plaintiffs’ complaints. Additionally, GAO’s report concluding that
McAleenan was not the lawful successor to Secretary Nielsen was issued just last month. Given
the procedural posture of the case and the timing of the GAO report, Plaintiffs have not unduly
delayed this motion. For the same reasons, this amendment would not cause undue prejudice to
the Defendants, as it would not “(i) require the opponent to expend significant additional
resources to conduct discovery and prepare for trial; (ii) significantly delay the resolution of the
dispute; or (iii) prevent the [non-moving party] from bringing a timely action in another
jurisdiction.” Block v. First Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993).

        For the reasons stated above, Plaintiffs request that the Court schedule a pre-motion
conference in order to permit leave to file an Amended Complaint adding a claim alleging
violations of the FVRA.




                                                 3
Case 1:19-cv-07777-GBD-OTW Document 217 Filed 09/24/20 Page 4 of 5




                  Respectfully submitted,

                   LETITIA JAMES
                   Attorney General of the State of New York

                   By: /s/ Elena Goldstein__
                   Elena Goldstein, Deputy Bureau Chief, Civil Rights
                   Matthew Colangelo
                     Chief Counsel for Federal Initiatives
                   Ming-Qi Chu, Section Chief, Labor Bureau
                   Abigail Rosner, Assistant Attorney General
                   Office of the New York State Attorney General
                   New York, New York 10005
                   Phone: (212) 416-6201
                   Elena.goldstein@ag.ny.gov

                   Attorneys for the States of New York, Connecticut,and Vermont
                   and the City of New York


                   PAUL, WEISS, RIFKIND, WHARTON &
                   GARRISON LLP

                   By:
                   Andrew J. Ehrlich
                   Jonathan H. Hurwitz
                   Elana R. Beale
                   Robert J. O’Loughlin
                   Daniel S. Sinnreich
                   Amy K. Bowles

                   1285 Avenue of the Americas
                   New York, New York 10019-6064
                   (212) 373-3000
                   aehrlich@paulweiss.com
                   jhurwitz@paulweiss.com
                   ebeale@paulweiss.com
                   roloughlin@paulweiss.com
                   dsinnreich@paulweiss.com
                   abowles@paulweiss.com

                   CENTER FOR CONSTITUTIONAL RIGHTS
                   Ghita Schwarz
                   Brittany Thomas
                   Baher Azmy

                   666 Broadway

                                   4
      Case 1:19-cv-07777-GBD-OTW Document 217 Filed 09/24/20 Page 5 of 5




                             7th Floor
                             New York, New York 10012
                             (212) 614-6445
                             gschwarz@ccrjustice.org
                             bthomas@ccrjustice.org
                             bazmy@ccrjustice.org


                             THE LEGAL AID SOCIETY
                             Susan E. Welber, Staff Attorney, Law Reform Unit
                             Kathleen Kelleher, Staff Attorney, Law Reform Unit
                             Susan Cameron, Supervising Attorney, Law Reform Unit
                             Hasan Shafiqullah, Attorney-in-Charge, Immigration Law Unit


                             199 Water Street, 3rd Floor
                             New York, New York 10038
                             (212) 577-3320
                             sewelber@legal-aid.org
                             kkelleher@legal-aid.org
                             scameron@legal-aid.org
                             hhshafiqullah@legal-aid.org


                             Attorneys for Plaintiffs Make the Road New York, African Services
                             Committee, Asian American Federation, Catholic Charities Community
                             Services (Archdiocese of New York), and Catholic Legal Immigration
                             Network, Inc.



cc:    All Counsel of record via ECF




                                             5
